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 1 Todd M. Schneider (SBN 158253)

 2 Matthew S. Weiler (SBN 236052)
   Sunny S. Sarkis (SBN 258073)
 3 SCHNEIDER WALLACE
   COTTRELL KONECKY LLP
 4 2000 Powell Street, Suite 1400
   Emeryville, CA 94608
 5 Telephone: (415) 421-7100
   TSchneider@schneiderwallace.com
 6 MWeiler@schneiderwallace.com
   SSarkis@schneiderwallace.com
 7

 8 Jason H. Kim (SBN 220279)
   SCHNEIDER WALLACE
 9 COTTRELL KONECKY LLP
   300 S. Grand Ave., Suite 2700
10 Los Angeles, California 90071
   Telephone: (415) 421-7100
11 JKim@schneiderwallace.com

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13
                           UNITED STATES DISTRICT COURT
14
                         NORTHERN DISTRICT OF CALIFORNIA
15

16
                                               Case No. 3:22-cv-03912-RFL
17 MARK YOUNG, on behalf of himself and all
   other similarly situated,
                                               PLAINTIFF MARK YOUNG’S
18                                             REQUEST FOR JUDICIAL NOTICE
                             Plaintiff,        IN SUPPORT OF OPPOSITION TO
19                                             SOLANA LABS, INC.’S MOTION TO
           v.                                  DISMISS PLAINTIFF’S
20                                             CONSOLIDATED AMENDED CLASS
                                               ACTION COMPLAINT
21
   SOLANA LABS, INC.; THE SOLANA
                                               Judge: Hon. Rita F. Lin
22 FOUNDATION; ANATOLY YAKOVENKO;              Date: August 6, 2024
   MULTICOIN CAPITAL MANAGEMENT                Time: 10:00 a.m.
23 LLC; KYLE SAMANI,                           Court: Courtroom 15 – 18th Floor
24
                              Defendants.
25

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     PL.’S RJN ISO OPP. TO MOTION TO DISMISS               Case No. 3:22-cv-03912-RFL
                 Case 3:22-cv-03912-RFL Document 89 Filed 05/13/24 Page 2 of 3




 1
                                  REQUEST FOR JUDICIAL NOTICE
 2
             Pursuant to Rule 201 of the Federal Rules of Evidence, Plaintiff Mark Young (“Young”)
 3
     respectfully requests that the Court take judicial notice of the contents of the following documents
 4
     which are not subject to reasonable dispute and are attached as exhibits to the Declaration of
 5
     Matthew S. Weiler in Support of Plaintiff Mark Young’s Opposition to Solana Lab’s Motion to
 6
     Dismiss Plaintiff’s Consolidated Amended Class Action Complaint (“Weiler Decl.”):
 7

 8       Weiler
                                                       Document
 9       Decl.
         Ex.
10
                    Printout from Exodus Movement webpage concerning how to swap crypto
11           1      assets, available at https://www.exodus.com/support/en/articles/8598630-how-
                    do-i-swap-crypto-in-exodus-swap (last visited May 13, 2024).
12

13
                    Printout from Yahoo Finance reflecting SOL securities price at 2:14 pm on
14                  May 10, 2024, https://www. https://finance.yahoo.com/quote/SOL-USD (last
             2      visited May 13, 2024).
15

16

17                                             DISCUSSION
             Under Federal Rule of Evidence 201, a court may take judicial notice of “a fact that is not
18
     subject to reasonable dispute because it: (1) is generally known within the trial court’s territorial
19
     jurisdiction; or (2) can be accurately and readily determined from sources whose accuracy cannot
20
     reasonably be questioned.” Fed. R. Evid. 201(b). The court “must take judicial notice if a party
21
     requests it and the court is supplied with the necessary information.” Fed. R. Evid. 201(c). Each
22
     of the documents identified above can be accurately and readily determined from sources whose
23
     accuracy cannot reasonably be questioned and therefore this Court should take judicial notice of
24
     them.
25
             Exhibits 1 and 2 are website downloads from Exodus Movement and Yahoo through
26
     publicly available internet pages. This is the type of material courts may judicially notice. A court
27

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      PL.’S RJN ISO OPP. TO MOTION TO DISMISS                              Case No. 3:22-cv-03912-RFL
              Case 3:22-cv-03912-RFL Document 89 Filed 05/13/24 Page 3 of 3




 1 “may take judicial notice of the fact that an internet article is available to the public, but they may

 2 not take judicial notice of the truth of the matters asserted . . . .” Nelson Bros. Prof’l Real Estate

 3 LLC v. Jaussi, 2017 U.S. Dist. LEXIS 219769 (C.D. Cal. Mar. 23, 2017) (citing Spy Optic, Inc. v.

 4 Alibaba.com, Inc., 163 F. Supp. 3d 755, 762 (C.D. Cal. 2015) (granting request for judicial notice

 5 of web pages on defendant’s website)); Kim v. Kihwan Yoon, 2021 U.S. Dist. LEXIS 185924, *3

 6 (N.D. Cal., Sept. 28, 2021) (“Information about the stock price of publicly traded companies,

 7 including such information in the form of a stock price chart from Yahoo! Finance, is the proper

 8 subject of judicial notice”).
 9          Exhibit 1 contains screen shots and videos that describe how to use the Exodus platform to

10 purchase crypto assets. Exhibits 1 is appropriate for judicial notice because they describe the

11 functioning and design of the Exodus platform used by Plaintiff Young. See Knievel v. ESPN, 393

12 F.3d 1068, 1076 (9th Cir. 2005) (taking judicial notice of a screenshot of the webpage containing

13 an allegedly defamatory even though it was never referenced directly in the complaint). Judicial

14 notice may be taken concerning internet web pages that show the “overall functioning and design

15 of [an] app” such as Exodus. Fife v. Sci. Games Corp., 2018 U.S. Dist. LEXIS 212908, *6 (W.D.

16 Wash Dec. 18, 2018).

17          Dated: May 13, 2024.

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                                                   SCHNEIDER WALLACE
19                                                 COTTRELL KONECKY LLP
20
                                                   Matthew S. Weiler
21                                                 Todd M. Schneider (SBN 158253)
                                                   Matthew S. Weiler (SBN 236052)
22                                                 Sunny S. Sarkis (SBN 258073)
                                                   2000 Powell Street, Suite 1400
23
                                                   Emeryville, CA 94608
24                                                 Telephone: (415) 421-7100
                                                   tschneider@schneiderwallace.com
25                                                 mweiler@schneiderwallace.com
                                                   ssarkis@schneiderwallace.com
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